Case 2:15-bk-50141   Doc 46   Filed 06/23/17 Entered 06/23/17 10:42:32   Desc Main
                              Document     Page 1 of 5
Case 2:15-bk-50141   Doc 46   Filed 06/23/17 Entered 06/23/17 10:42:32   Desc Main
                              Document     Page 2 of 5
Case 2:15-bk-50141   Doc 46   Filed 06/23/17 Entered 06/23/17 10:42:32   Desc Main
                              Document     Page 3 of 5
Case 2:15-bk-50141   Doc 46   Filed 06/23/17 Entered 06/23/17 10:42:32   Desc Main
                              Document     Page 4 of 5
Case 2:15-bk-50141   Doc 46   Filed 06/23/17 Entered 06/23/17 10:42:32   Desc Main
                              Document     Page 5 of 5
